          Case 4:16-cv-00378-CDL Document 9 Filed 02/08/17 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF GEORGIA
                                  COLUMBUS DIVISION

STANLEY MORGAN,

       PLAINTIFF,

-vs-                                                CASE NO.: 4:16-CV-00378-CDL

VERIZON WIRELESS
SERVICES, LLC,

       DEFENDANT.
                                       /

                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       COMES NOW the Plaintiff, Stanley Morgan, and the Defendant, Verizon Wireless

Services, LLC., and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby stipulate to dismiss, with

prejudice, each claim and count therein asserted by Plaintiff against the Defendant in the above

styled action, with Plaintiff and Defendant to bear their own attorney’s fees, costs and expenses.

The Parties respectfully request that the Clerk close this case.

       Respectfully submitted this 8th day of February, 2017.




/s/Octavio Gomez, Esquire                           /s/Michael Kohler, Esquire
Octavio “Tav” Gomez, Esquire                        Michael Kohler, Esquire
Georgia Bar #: 617963                               Georgia Bar #: 427727
Morgan & Morgan, Tampa, P.A.                        Miller & Martin, PLLC
201 North Franklin Street, 7th Floor                1180 W. Peachtree Street N.W., Suite 2100
Tampa, FL 33602                                     Atlanta, GA 30309
Telephone: (813) 223-5505                           Tele: (404) 962-6100
Facsimile: (813) 223-5402                           Fax: (404) 962-6300
tgomez@forthepeople.com                             michael.kohler@millermartin.com
amferrera@forthepeople.com                          Counsel for Defendant
amoore2@forthepeople.com
Counsel for Plaintiff
